Case 1:16-cv-01603-RBJ-NYW Document 67 Filed 03/29/17 USDC Colorado Page 1 of 11




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                    Judge R. Brooke Jackson

   Civil Action No. 16-cv-01603-RBJ-NYW

   JAMES P. TATTEN,

          Plaintiff,

   v.

   THE CITY AND COUNTY OF DENVER, a municipality,
   DEBRA JOHNSON, Clerk and Recorder, in her official capacities, and
   LSF9 MASTER PARTICIPATION TRUST,

          Defendants.


                                               ORDER



          This matter is before the Court on defendants City and County of Denver and Debra

   Johnson’s (“City Defendants”) motion to dismiss, defendant LSF9 Master Participation Trust’s

   (“LSF9”) motion to dismiss, plaintiff James P. Tatten’s motion for leave to file his first amended

   complaint, and Magistrate Nina Y. Wang’s report and recommendation. Judge Wang

   recommends that this Court grant defendants’ motions to dismiss and deny plaintiff’s motion to

   file an amended complaint. These recommendations are incorporated herein by reference. See

   28 U.S.C. § 636(b)(1)(B); Fed. R. Civ. P. 72(b). Like Judge Wang, I find that the motions to

   dismiss must be granted, and the motion to amend must be denied.

                                              BACKGROUND

          Mr. Tatten suffered a traumatic brain injury in November 2008 and subsequently stopped


                                                   1
Case 1:16-cv-01603-RBJ-NYW Document 67 Filed 03/29/17 USDC Colorado Page 2 of 11




   making payments on his home mortgage loan. His bank initiated foreclosure proceedings in

   August 2009, but withdrew the action when Mr. Tatten agreed to a loan modification. Mr.

   Tatten made no payments on the modified loan either, however, so the bank again initiated

   foreclosure proceedings in October 2011. Mr. Tatten challenged the Denver District Court’s

   Order Authorizing Sale and this litigation exhausted the statutory one-year window for the

   Public Trustee to sell Mr. Tatten’s property, so the bank dropped its case once more. The bank

   later sold Mr. Tatten’s home loan account to LSF9.

          LSF9 reinitiated foreclosure proceedings in early 2016. In January it filed a Notice of

   Election and Demand for Sale with the Denver County Public Trustee, and in February it filed a

   motion for an Order Authorizing Sale with the Denver District Court. In February and March,

   Mr. Tatten emailed two employees of the Public Trustee’s office for information on this

   foreclosure action. On April 22 and 25, 2016 the Denver District Court held contested Rule 120

   hearings. The court issued an Order Authorizing Sale on April 26, 2016. The Public Trustee

   scheduled its sale of the property for June 9, 2016.

          On June 1, 2016 Mr. Tatten hand-delivered a Notice of Intent to Sue to the Public

   Trustee’s office. A week later, on June 8, 2016, Mr. Tatten filed an emergency motion in the

   Denver District Court seeking to enjoin the planned foreclosure sale. The Court held a hearing

   that same day and denied the motion. The Public Trustee’s website was allegedly unavailable

   that day, so Mr. Tatten visited the Public Trustee’s office in person to obtain more information

   about the foreclosure sale. According to Mr. Tatten, the employees there refused to answer his

   questions. The next day, June 9, 2016, LSF9 purchased the property.




                                                    2
Case 1:16-cv-01603-RBJ-NYW Document 67 Filed 03/29/17 USDC Colorado Page 3 of 11




          On June 23, 2016 Mr. Tatten filed suit in this Court challenging the Rule 120 proceedings

   and defendants’ actions in connection with those proceedings. ECF No. 1. His complaint raises

   three claims under 42 U.S.C. § 1983 for violations of (1) his Fourteenth Amendment right to due

   process, (2) his Fourteenth Amendment right to equal protection, and (3) his Fourteenth

   Amendment rights in general because of the City Defendants’ allegedly unconstitutional policies

   and practices, as well as claims for (4) violation of the Americans with Disabilities Act

   (“ADA”), (5) violation of the Fair Debt Collection Practices Act (“FDCPA”), and (6) intentional

   infliction of emotional distress (“IIED”).

          The City Defendants and LSF9 have filed motions to dismiss. ECF Nos. 4, 34. Mr.

   Tatten submitted a response to the City Defendants’ motion, ECF No. 25, and the City

   Defendants filed a reply, ECF No. 26. Mr. Tatten has not responded to LSF9’s motion to

   dismiss.

          However, Mr. Tatten filed an amended complaint on November 28, 2016. ECF No. 44.

   Judge Wang issued a minute order the next day striking Mr. Tatten’s amended complaint for

   failure to comply with this District’s Local Rules of Civil Practice. ECF No. 45. Judge Wang

   directed Mr. Tatten to file a proper motion to amend and to refile his amended complaint in

   compliance with the local rules no later than December 6, 2016. Id. More than a month after

   this deadline, on January 11, 2017, Mr. Tatten filed a motion to amend. ECF No. 53. The

   proposed amended complaint adds factual allegations about events in June and July 2016, and

   new claims for violation of the Colorado Consumer Protection Act (“CCPA”), violation of the

   Colorado Foreclosure Protection Act (“CFPA”), and negligent infliction of emotional distress




                                                    3
Case 1:16-cv-01603-RBJ-NYW Document 67 Filed 03/29/17 USDC Colorado Page 4 of 11




   (“NIED”). ECF No. 53-1. Defendants have responded to the motion to amend. ECF Nos. 57,

   58. No replies were permitted. ECF No. 56.

          After reviewing all of these filings and holding a hearing on the motions to dismiss—

   which Mr. Tatten failed to attend, see ECF No. 46—Judge Wang recommended that Mr. Tatten’s

   complaint be dismissed, and that he not be permitted to amend it. ECF No. 59. Judge Wang

   agreed with defendants that the Rooker-Feldman doctrine bars Mr. Tatten’s first and second §

   1983 claims, and that Mr. Tatten’s third § 1983 claim fails to state a claim for failure to train and

   supervise. She also agreed that Mr. Tatten fails to allege sufficient facts to support his ADA,

   FDCPA, and IIED claims. Additionally, Judge Wang found that the Colorado Governmental

   Immunity Act bars Mr. Tatten’s IIED claim against the City Defendants. Regarding the motion

   to amend, Judge Wang agreed that Mr. Tatten’s motion should be denied as untimely because he

   provided no explanation for missing the Court’s deadline, he offered no basis for excusing his

   noncompliance with the applicable rules and order, and he knew of the alleged new facts long

   before he filed his tardy motion. In any event, Judge Wang agreed that Mr. Tatten’s motion

   could also be denied on futility grounds because he could not maintain a CCPA, CFPA, or NIED

   claim against defendants.

          Mr. Tatten filed an objection to Judge Wang’s recommendations, ECF No. 64, and

   defendants submitted responses to these objections, ECF Nos. 65, 66.

                                      STANDARD OF REVIEW

          A motion to dismiss under Rule 12(b)(1) can either “(1) facially attack the complaint’s

   allegations as to the existence of subject matter jurisdiction, or (2) go beyond allegations

   contained in the complaint by presenting evidence to challenge the factual basis upon which


                                                     4
Case 1:16-cv-01603-RBJ-NYW Document 67 Filed 03/29/17 USDC Colorado Page 5 of 11




   subject matter jurisdiction rests.” Maestas v. Lujan, 351 F.3d 1001, 1013 (10th Cir. 2003).

   Where, as here, there is a facial attack on the basis for jurisdiction, the Court must consider only

   the allegations on the face of the complaint, taken as true and viewed in the light most favorable

   to the plaintiffs. Holt v. United States, 46 F.3d 1000, 1002 (10th Cir. 1995). “Mere conclusory

   allegations of jurisdiction are not enough.” U.S. ex rel. Hafter D.O.v. Spectrum Emergency

   Care, Inc., 190 F.3d 1156, 1160 (10th Cir. 1999).

          To survive a 12(b)(6) motion to dismiss, the complaint must contain “enough facts to

   state a claim to relief that is plausible on its face.” Ridge at Red Hawk, L.L.C. v. Schneider, 493

   F.3d 1174, 1177 (10th Cir. 2007) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

   (2007)). While the Court must accept the well-pleaded allegations of the complaint as true and

   construe them in the light most favorable to the plaintiff, Robbins v. Wilkie, 300 F.3d 1208, 1210

   (10th Cir. 2002), purely conclusory allegations are not entitled to be presumed true, Ashcroft v.

   Iqbal, 556 U.S. 662, 681 (2009). However, so long as the plaintiff offers sufficient factual

   allegations such that the right to relief is raised above the speculative level, he has met the

   threshold pleading standard. See Twombly, 550 U.S. at 556. “The court’s function on a Rule

   12(b)(6) motion is not to weigh potential evidence that the parties might present at trial, but to

   assess whether the plaintiff’s complaint alone is legally sufficient to state a claim for which relief

   may be granted.” Sutton v. Utah State Sch. for Deaf & Blind, 173 F.3d 1226, 1236 (10th Cir.

   1999) (quoting Miller v. Glanz, 948 F.2d 1562, 1565 (10th Cir. 1991)).

          Although Mr. Tatten brings this action pro se, he is not entitled to have his filings

   construed liberally because he is a trained attorney. See Mann v. Boatright, 477 F.3d 1140, 1148

   n.4 (10th Cir. 2007). “Even were [the Court] to construe Mr. Tatten’s filings liberally, that


                                                     5
Case 1:16-cv-01603-RBJ-NYW Document 67 Filed 03/29/17 USDC Colorado Page 6 of 11




   would not excuse him from complying with the Federal Rules of Civil . . . [P]rocedure, including

   pleading requirements, nor would [the Court] ‘supply additional factual allegations to round out

   [his] complaint or construct a legal theory on [his] behalf.’” Tatten v. Bank of Am. Corp., 562 F.

   App’x 718, 720 (10th Cir. 2014) (citations omitted).

                                                ANALYSIS

          The Court must conduct a de novo review of any part of Judge Wang’s recommendation

   to which Mr. Tatten has properly objected. Fed. R. Civ. P. 72(b)(3). Absent a proper objection,

   however, “the district court may review a magistrate’s report under any standard it deems

   appropriate.” Summers v. Utah, 927 F.2d 1165, 1167 (10th Cir. 1991). An objection “must be

   both timely and specific to preserve an issue for de novo review.” United States v. 2121 E. 30th

   St., 73 F.3d 1057, 1060 (10th Cir. 1996). And an objection is sufficiently specific if it “focus[es]

   the district court’s attention on the factual and legal issues that are truly in dispute.” Id. For

   example, an objection is not specific if it merely “ask[s] that the district court reconsider the

   magistrate’s report and recommendation based on ‘the motions, exhibits, testimony[,] briefs, and

   arguments’ that the [party] had submitted to the court.” Id.

          Mr. Tatten’s objections are too general and conclusory to preserve any issue for de novo

   review. His filing consists of two parts: “Specific Written Objections” and “Argument.” The

   first part spans 31 pages and includes numerous sections and subsections, the vast majority of

   which simply states that he “specifically objects to each proposed finding and recommendation

   listed and quoted below” and then quotes Judge Wang’s recommendations. See ECF No. 64 at

   3–33. But it is not enough just to point to parts of a magistrate judge’s opinion that are allegedly




                                                      6
Case 1:16-cv-01603-RBJ-NYW Document 67 Filed 03/29/17 USDC Colorado Page 7 of 11




   mistaken—one must also “identify the particular errors the magistrate judge committed.”

   Wofford v. Colvin, 570 F. App’x 744, 746 (10th Cir. 2014).

           In the remainder of his “Specific Written Objections,” Mr. Tatten “specifically objects to

   Magistrate Judge Wang”—which I will address below—and provides a list of general “reasons”

   for taking issue with Judge Wang’s recommendations. Yet these “reasons” do nothing to focus

   the court’s attention on the facts or legal issues that are in dispute. Instead, they allege error in

   vague generalities, like: “Each proposed findings [sic] and recommendation . . . includes biased

   assumptions, misstatements, and misrepresentations.” ECF No. 64 at 9, 15. Other “reasons” are

   marginally more specific, but still do not frame the issues with sufficient particularity. For

   example, Mr. Tatten repeatedly alleges that defendants acted “independent of the Rule 120

   proceedings,” but does not explain why Judge Wang was wrong in thinking that these actions

   were bound up in the Rule 120 proceedings. See id. at 10–11 (“Plaintiff Tatten filed this action

   because City Defendants and Defendant LSF9 Master Participation Trust (“Defendant LSF9”)

   engaged in conduct, independent of the Rule 120 proceeding, to collect a debt asserted to be

   owed; Plaintiff Tatten filed this action because City Defendants and Defendant LSF9 engaged in

   threatening conduct, independent of the Rule 120 proceeding, to collect a debt asserted to be

   owed . . . .”). In another section, Mr. Tatten rattles off a list of general accusations, such as:

   “Magistrate Judge Wang committed error by making medical judgments and legal findings in

   conflict with the pleadings, attachments, exhibits, filings, and entire case file.” Id. at 17. All in

   all, these objections are no better than improperly asking the Court to reconsider Judge Wang’s

   recommendations based on “the motions, exhibits, testimony[,] briefs, and arguments” that Mr.

   Tatten has submitted to the Court. 2121 E. 30th St., 73 F.3d at 1060.


                                                      7
Case 1:16-cv-01603-RBJ-NYW Document 67 Filed 03/29/17 USDC Colorado Page 8 of 11




          That leaves Mr. Tatten’s brief “Argument.” Aside from questioning Judge Wang’s

   impartiality once again, this part raises only three objections. First, Mr. Tatten asserts that

   granting the motions to dismiss or denying his motion to amend will “abridge, enlarge, or modify

   substantive rights in violation of 28 U.S.C. § 2072(b).” ECF No. 64 at 35. That provision

   governs the rules of procedure and evidence prescribed by the Supreme Court. See 28 U.S.C. §

   2072. This limitation on the Supreme Court’s power to prescribe rules has no apparent bearing

   on the case at hand, and Mr. Tatten neither identifies what “substantive right” may be affected

   nor how such a right might be affected by ruling on the pending motions. Second, Mr. Tatten

   argues that the Rooker-Feldman doctrine does not bar his due process or equal protection claims

   because “[t]he pleadings, attachments, exhibits, filings, and entire case file show that the conduct

   alleged[] is independent of the Colorado Rule 120 proceedings.” ECF No. 64 at 36. And third,

   Mr. Tatten asserts that he should be granted leave to amend his complaint because “[t]he

   pleadings, attachments, exhibits, filings, and entire case do not indicate or show bad faith, undue

   delay, prejudice, or futility of amendment.” Id. at 37. These arguments are directly in the teeth

   of the Tenth Circuit’s prohibition on overly general objections. 2121 E. 30th St., 73 F.3d at

   1060. Moreover, Mr. Tatten does not object to Judge Wang’s recommendation that this Court

   dismiss his claims for unconstitutional policies and practices, violation of the ADA, violation of

   FDCPA, or IIED. See ECF No. 64.

          Mr. Tatten’s claim that Judge Wang is biased fares no better. Mr. Tatten essentially

   accuses Judge Wang of bias based on the fact that before becoming a magistrate judge she was a

   partner in the law firm of Faegre & Benson, LLP. According to Mr. Tatten, that law firm

   represented Wells Fargo in a separate action against him in 2011. He does not, however,


                                                     8
Case 1:16-cv-01603-RBJ-NYW Document 67 Filed 03/29/17 USDC Colorado Page 9 of 11




   indicate that Ms. Wang, now Magistrate Judge Wang, was involved in the other case at all, or

   was aware when this case was referred to her that her former firm had been involved in a case in

   which Mr. Tatten was a party. Notably, Mr. Tatten did not raise this issue when this Court

   referred the pending motions to her. Rather, only after he received her unfavorable

   recommendation did he make this charge. Under 28 U.S.C. § 455(a), a judge must disqualify

   herself “in any proceeding in which her impartiality might reasonably be questioned.” The rule

   applies not only to actual bias or prejudice but to the appearance of bias or prejudice. The test is

   “whether a reasonable person, knowing all the relevant facts, would harbor doubts about the

   judge’s impartiality.” Hinman v. Rogers, 831 F.2d 937, 939 (10th Cir. 1987). I find that a

   reasonable person, knowing all the relevant facts, would not harbor doubts about Judge Wang’s

   impartiality in this case.

           As a result, Mr. Tatten has failed to preserve any aspect of Judge Wang’s

   recommendations for de novo review. After reviewing the parties’ submissions, the Court

   concludes that Judge Wang’s analysis is correct and that “there is no clear error on the face of the

   record.” Fed. R. Civ. P. 72 advisory committee’s note.

           Nevertheless, in an abundance of caution, this Court will also conduct a de novo review

   of the portions of Judge Wang’s recommendation to which Mr. Tatten objects. Mr. Tatten filed

   suit in this Court two weeks after the Rule 120 proceedings ended and LSF9 purchased his

   property. His due process claim argues that he had “the right to a Rule 120 hearing that was free

   from prejudice and discrimination.” ECF No. 1 at ¶ 143. But this claim “would impermissibly

   involve a reexamination of the underlying state court proceedings and judgments, which is

   barred by the Rooker-Feldman doctrine.” Driskell v. Thompson, 971 F. Supp. 2d 1050, 1065 (D.


                                                    9
Case 1:16-cv-01603-RBJ-NYW Document 67 Filed 03/29/17 USDC Colorado Page 10 of 11




   Colo. 2013) (citing Dillard v. Bank of N.Y., 476 F. App’x 690, 692 (10th Cir. 2012)). Mr.

   Tatten’s equal protection claim is based on similar allegations and therefore is barred by the

   Rooker-Feldman doctrine as well. See ECF No. 1 at ¶ 163; Sladek v. Bank of Am., NA, No. 13-

   CV-03094-PAB-MEH, 2014 WL 8105182, at *6 (D. Colo. July 10, 2014). Accordingly, his

   complaint must be dismissed.

          Mr. Tatten’s motion to amend is equally deficient. He filed this motion more than a

   month after the court-ordered deadline passed, and he has offered no explanation for missing this

   deadline. “It is well settled in this circuit that untimeliness alone is a sufficient reason to deny

   leave to amend, especially when the party filing the motion has no adequate explanation for the

   delay.” Frank v. U.S. W., Inc., 3 F.3d 1357, 1365–66 (10th Cir. 1993) (citations omitted). Thus,

   Mr. Tatten’s motion to amend his complaint must be denied.

                                                 ORDER

          1. The recommendation of United States Magistrate Judge Nina Y. Wang, ECF No. 59,

   is ACCEPTED and ADOPTED.

          2. City Defendants’ Motion to Dismiss [ECF No. 4] is GRANTED. Plaintiff’s claims

   against the City and County of Denver and Debra Johnson are dismissed with prejudice.

          3. LSF9 Master Participation Trust’s Motion to Dismiss [ECF No. 34] is GRANTED.

   Plaintiffs claims against LSF9 are dismissed with prejudice.

          4. Plaintiff’s Motion for Leave to File First Amended Complaint and Jury Demand [ECF

   No. 53] is DENIED.

          5. As the prevailing parties, defendants are awarded their reasonable costs pursuant to

   Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1.


                                                     10
Case 1:16-cv-01603-RBJ-NYW Document 67 Filed 03/29/17 USDC Colorado Page 11 of 11




         DATED this 29th day of March, 2017.

                                                    BY THE COURT:




                                                    ___________________________________
                                                    R. Brooke Jackson
                                                    United States District Judge




                                               11
